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 Dear Judge Tarnow

    My name is Ronald Segars I’m an inmate at FCI Morgantown, WV. This letter serves as a request for a
 Compassionate Release in accordance with the program statement, compassionate release/reduction in
 sentence. This petition is specifically made regarding the corona Virus and my medical conditions which
 places me in a high risk category for death, according to the CDC. Which includes, Hypertension, and I
 suffered a stroke before entering the Federal System. Additionally it has been documented that the
 death toll in African American men which I am, is significantly higher than other nationalities. My race
 alone with my medical conditions qualify me for the compassionate release under the CDC guidelines.
 As you are aware, it is impossible to practice the number one prevention of this virus of Social
 Distancing while being incarcerated. In Federal Custody, I have maintained a clean disciplinary record. I
 have also engaged in various educational programs including Ace Interview and Resume Prep, Parenting
 Reentry Preparation, Diabetic Wellness, Ace Bussiness Management and Ace Personal Finance. I am
 considered Minimal Security.

    If this Compassionate Release petition is granted, I will reside with my Fiancée Tanisha Stovall, Who
 will be able to support me financially and will make provisions for my required medical care until this
 pandemic is over. During this time I will remain at home, where I will be capable of practicing social
 distancing. I thank you in advance for your consideration. I humbly pray that you will grant this petition
 so that I can go home and have a better chance at survival considering my much higher risk of death due
 to this virus. I’m praying for just not my release but the release of all whom my be affected by this.


 Respectfully Submitted,
     Ronald Segars
